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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                            SOUTHERN DIVISION AT LONDON
                             CIVIL ACTION NO. ____________

In re: 735 Big Barn Road, Tyner, KY 40486

THE UNITED STATES OF AMERICA
                                                                      PLAINTIFF
VS.

UNKNOWN HEIRS OF THE ESTATE OF KATTIE CREECH AKA KATIE CREECH
Serve via warning order attorney: 735 Big Barn Road
                                  Tymer, KY 40486


UNKNOWN EXECUTOR/ADMINISTRATOR OF THE ESTATE OF KATTIE CREECH
AKA KATIE CREECH
Serve via warning order attorney: 735 Big Barn Road
                                  Tymer, KY 40486


RANDY ADKINS AKA RANDALL ADKINS
Serve via certified mail: 448 Lower Hays Rd
                          Mckee, KY 40447

UNKNOWN SPOUSE OF RANDY ADKINS
Serve via warning order attorney: 448 Lower Hays Rd
                                  Mckee, KY 40447

TONYA EVANS
Serve via certified mail:         90 Collier School Road
                                  Annville, KY 40402

UNKNOWN SPOUSE OF TONYA EVANS
Serve via warning order attorney: 90 Collier School Road
                                  Annville, KY 40402

RHONDA LYNN BREWER
Serve via certified mail:         240 Welchburg Estates Road
                                  Annville, KY 40402

UNKNOWN SPOUSE OF RHONDA LYNN BREWER
Serve via warning order attorney: 240 Welchburg Estates Road
                                  Annville, KY 40402
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COMMONWEALTH OF KENTUCKY, DIVISION OF UNEMPLOYMENT INSURANCE
Serve via certified mail: c/o Attorney General, Capitol Building, Ste 118,
                          700 Capitol Ave.
                          Frankfort, KY 40621

ASSET ACCEPTANCE, LLC
Serve via certified mail:            c/o Corporation Service Company, Registered Agent
                                     421 West Main St
                                     Frankfort, KY 40601

CAPITAL ONE SERVICES, INC.
Serve via certified mail:            c/o Molly E. Rose, or Authorized Agent
                                     Morgan & Pottinger
                                     401 S. 4th St., #1200
                                     Louisville, KY 40202

AND

DANIEL BOONE COMMUNITY ACTION AGENCY, INC.
Serve via certified mail: c/o Mike Buckles, Registered Agent
                          1535 Shamrock Road
                          Manchester, KY 40962

                                                                                 DEFENDANTS

                                   IN REM COMPLAINT

                                           ********

   Comes now the Plaintiff, the United States of America, by and through counsel, and for its

Complaint and cause of action against the Defendants states as follows:

   1. This real estate mortgage foreclosure action is brought by the United States of America,

       on behalf of its Department of Agriculture, Rural Development (hereinafter “RD”), f/k/a

       Farmer’s home Administration (FmHA) pursuant to Title 28, United States Code, Section

       1345.

   2. On or about May 4, 2010, Kattie Creech aka Katie Creech and Jimmy Creech, (both

       Deceased) for value received, executed and delivered to RD a promissory mortgage note

       (hereinafter “Note”) in the principal amount of $46,257.00, bearing interest at the rate of
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    4.875% percent per annum, the Note calling for monthly payments of principal and

    interest.   A copy of this Note is attached hereto marked Exhibit A, and hereby

    incorporated by reference as if set forth at length herein.

 3. Contemporaneously with the execution of the Note, Kattie Creech aka Katie Creech,

    Deceased and Jimmy Creech, Deceased, executed, acknowledged, and delivered to RD a

    real estate mortgage (hereinafter “Mortgage”), which was recorded on May 4, 2010, in

    Mortgage Book 174, page 533, in the Commonwealth of Kentucky, Jackson County

    Clerk’s Office. In and by this Mortgage, said borrowers granted to RD a first mortgage

    lien against the real property described in the Mortgage located in Jackson County,

    Kentucky (hereinafter “Property”). A copy of this Mortgage is attached hereto marked

    Exhibit B, and is hereby incorporated by reference as if set forth at length herein.

 4. Contemporaneously with the execution of the Note and Mortgage, Kattie Creech aka

    Katie Creech, Deceased and Jimmy Creech, Deceased executed, acknowledged, and

    delivered to RD a Subsidy Repayment Agreement (hereinafter “Subsidy Agreement”). A

    copy of this Subsidy Agreement is attached hereto marked Exhibit C, and hereby

    incorporated by reference as if set forth at length herein.

 5. By virtue of all of the foregoing, the real property which is the subject of this mortgage

    foreclosure action consists of a tract of land located in Jackson County, Kentucky, and

    more particularly described as follows:

    A CERTAIN TRACT OF PARCEL OF LAND LYING ON THE WEST SIDE
    OF BIG BARN ROAD (A.K.A HERD-ELIAS ROAD) APPROXIMATELY 0.6
    MILES NE OF IT’S JUNCTION WITH KY HWY 1431, BEING A PORTION
    OF TRACT #2 OF THE SAME LAND DESCRIBED IN DEED BOOK 168 AT
    PAGE 402, BEING IN THE HERD COMMUNITY OF JACKSON COUNTY,
    STATE OF KENTUCKY, BOUNDED AND DESCRIBED AS FOLLOWS:
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    BEGINNING AT A 5/8” X 20” STEEL ROD AND PLASTIC CAP STAMPED
    JDB LS 3409 SET 20’ WEST OF THE APPROXIMATE CENTERLINE OF
    BIG BARN ROAD (AKA HERD-ELIAS ROAD), A NEW CORNER, THENCE
    RUNNING PARALLEL TO SAID APPROXIMATE CENTERLINE: S 09°
    17’30”E 67.95 FEET TO A POINT, S 05°51’21” E 51.58 FEET TO A 5/8” X 20”
    STEEL ROD AND PLASTIC CAP STAMPED JDB LS 3409 SET, THENCE
    LEAVING SAID ROAD AND RUNNING (3) THREE NEW LINES TO
    SEVER THE PARENT TRACT: S 82°49’11” W 218.59 FEET TO A 5/8” X 20”
    STEEL ROD AND PLASTIC CAP STAMPED JDB LS 3409 SET
    (REFERENCED BY A FOUND ½” STEEL ROD WITH NO CAP, BEING
    CORNER 3 OF AN EASEMENT ROAD RECORDED IN R/O/W BOOK 007
    PAGE 435 AND BEARS: S 62°57’35” W 652.55 FEET), THENCE N
    08°23’07” W 118.03 FEET TO A 5/8” X 20” STEEL ROD AND PLASTIC CAP
    STAMPED JDB LS 3409 SET (REFERENCED BY A FOUND ½” STEEL ROD
    WITH NO CAP, BEING CORNER 4 OF AN EASEMENT ROAD RECORDED
    IN R/O/W BOOK 007, PAGE 435 AND BEARS: S 54°33’41” W 671.02 FEET),
    THENCE N 82°26’08” E 219.76 FEET TO THE POINT OF BEGINNING AND
    CONTAINING 0.60 ACRES (SIX-TENTHS), ALL ACCORDING TO A
    SURVEY PERFORMED BY BLANTON LAND SURVEYING, JAMES D.
    BLANTON KY PLS#3409 IN FEBRUARY OF 2010, THE TRACT OR
    PARCEL DESCRIBED HEREON IS SUBJECT TO ANY AND ALL
    EASEMENTS, RIGHTS OF WAY ETC. AND MAY NOT BE SHOWN BY
    THIS SURVEY DESCRIPTION OR SURVEY PLAT PROVIDED TO THE
    CLIENT. ALL BEARINGS GIVEN HEREIN ARE REFERENCED TO THE
    2005 MAGNETIC MERIDIAN AS OBTAINED BY LOCATING CORNERS
    OF THE EASEMENT RECORDED IN R/O/W BOOK 007 PAGE 435 THEN
    ANGLES WERE TURNED THEREFROM.

    Being the same property conveyed to Jimmy Creech and Kattie Creech, husband
    and wife, by deed dated May 4, 2010, of record in Deed Book 191, Page 141, in
    the office of the Jackson County Clerk. Jimmie Creech died on February 20,
    2015 and by virtue of the right of survivorship clause in the source deed, the
    property vested solely with Kattie Creech. Upon information and belief of the
    Plaintiff, Kattie Creech died intestate on January 16, 2016, and the property has
    vested with the known heirs of Kattie Creech, Randy Adkins aka Randall Adkins,
    Tonya Evans, and Rhonda Lynn Brewer, as well as any Unknown Heirs.

    Property Address: 735 Big Barn Road, Tyner KY 40486


 6. The Defendants, and/or said borrowers, have failed and continue to fail to make

    payments of principal and interest due in accordance with the terms and conditions of the

    said Note and Mortgage and are, therefore, in default.
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 7. Paragraph (22) of the Mortgage provides that if default occurs in the performance or

    discharge of any obligation of the Mortgage, then RD shall have the right to accelerate

    and declare the entire amount of all unpaid principal together with all accrued and

    accruing interest to be immediately due and payable and to bring an action to enforce the

    Mortgage, including the foreclosure of the lien thereof. Because of the Default of the

    Defendants, and/or said borrower, as set forth above, RD caused a Notice of Acceleration

    of Indebtedness and Demand for Payment to be issued to said Defendants declaring the

    entire indebtedness due upon the said Note and Mortgage to be immediately due and

    payable, which demand has been refused.

 8. Paragraph (1) of the Subsidy provides that subsidy received in accordance with a loan

    under section 521 of the Housing Act of 1949 is repayable to the Government upon the

    disposition or nonoccupancy of the security property.

 9. The unpaid principal balance on the Mortgage and Note is $42,545.57, with accrued

    interest of $4,546.00 through February 22, 2018, with the total subsidy granted of

    $5,860.29, with escrow in the amount of $25.00, with late charges in the amount of

    $16.68, plus additional fees assessed of $4,980.32, for a total unpaid balance due of

    $57,973.86. Interest is accruing on the unpaid principal balance at the rate of $6.3188 per

    day after February 22, 2018. An Affidavit of Proof Statement of Account signed by RD

    Foreclosure Representative, Kimberly Williamson, is attached hereto marked Exhibit D,

    and is incorporated herein as if set forth verbatim.

 10. Jimmy Creech died on February 20, 2015, and his interest in the real property which is

    the subject matter of this action passed to his wife, Kattie Creech aka Katie Creech by
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    virtue of the survivorship clause contained in the vesting Deed. A copy of the Death

    Certificate of Jimmy Creech is attached hereto as Exhibit E.

 11. Kattie Creech aka Katie Creech died intestate and unmarried on January 6, 2016. As a

    result, her Known and Unknown Heirs acquired title to the property by virtue of the laws

    of intestacy in the Commonwealth of Kentucky. A copy of the Death Certificate of Kattie

    Creech aka Katie Creech is attached hereto as Exhibit F.

 12. The Defendant, Unknown Heirs of the Estate of Kattie Creech aka Katie Creech, may

    claim an interest in the property by virtue of being Heirs of Kattie Creech aka Katie

    Creech. Said Defendants’ interest in or claims on the property are inferior in rank and

    subordinate in priority to the mortgage lien on the Property in favor of RD. RD is

    entitled to a foreclosure sale of the property free and clear of any interest therein or claim

    thereon in favor of the Defendant, Unknown Heirs of the Estate of Kattie Creech aka

    Katie Creech, and the Plaintiff calls upon said Defendants to come forth and asset their

    claims on or interest in the property, if any, and offer proof thereof, or be forever barred.

 13. The Defendant, Unknown Executor/Administrator of the Estate of Kattie Creech aka

    Katie Creech, may claim an interest in the property in his, or her, capacity as

    Executor/Administrator.     Said Defendants’ interest in or claims on the property are

    inferior in rank and subordinate in priority to the mortgage lien on the Property in favor

    of RD. RD is entitled to a foreclosure sale of the property free and clear of any interest

    therein or claim thereon in favor of the Defendant, Unknown Executor/Administrator of

    the Estate of Kattie Creech aka Katie Creech, and the Plaintiff calls upon said Defendants

    to come forth and asset their claims on or interest in the property, if any, and offer proof

    thereof, or be forever barred.
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 14. The Defendants, Randy Adkins aka Randall Adkins, Tonya Evans, and Rhonda Lynn

    Brewer, may claim an interest in the property as Heirs of the Estate of Kattie Creech aka

    Katie Creech. Said Defendants’ interest in or claim on the property is inferior in rank and

    subordinate in priority to the mortgage lien on the Property in favor of RD. RD is

    entitled to a foreclosure sale of the property free and clear of any interest therein or claim

    thereon in favor of the Defendants, Randy Adkins aka Randall Adkins, Tonya Evans, and

    Rhonda Lynn Brewer, and the Plaintiff calls upon said Defendant to come forth and

    assert their claim on or interest in the property, if any, and offer proof thereof, or be

    forever barred.

 15. The Defendant, Commonwealth Of Kentucky, Division of Unemployment Insurance,

    may claim an interest in the Property by virtue of two separate Recoupment Liens, which

    were recorded on July 25, 2002, in Book 10, Page 166, and also on December 19, 2013,

    in Book 23, Page 279 in the Commonwealth of Kentucky, Jackson County Clerk’s

    Office. Copies of the Liens are attached hereto marked Exhibits G and H, and are

    hereby incorporated by reference as if set forth at length herein. Said Defendant’s interest

    in or claim on the Property is inferior in rank and subordinate in priority to the mortgage

    lien on the Property in favor of RD. RD is entitled to a foreclosure sale of the Property

    free and clear of any interest therein or claim thereon in favor of the Defendant,

    Commonwealth Of Kentucky, Division Of Unemployment Insurance, and the Plaintiff

    calls upon said Defendant to come forth and assert its claim on or interest in the property,

    if any, and offer proof thereof, or be forever barred.

 16. The Defendant, Asset Acceptance, LLC, may claim an interest in the Property by virtue

    of an unreleased Judgment lien, which was recorded on May 8, 2009, in Book 16, Page
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    438, in the Commonwealth of Kentucky, Jackson County Clerk’s Office. Copy of the

    Lien is attached hereto marked Exhibit I and is hereby incorporated by reference as if set

    forth at length herein. Said Defendant’s interest in or claim on the Property is inferior in

    rank and subordinate in priority to the mortgage lien on the Property in favor of RD. RD

    is entitled to a foreclosure sale of the Property free and clear of any interest therein or

    claim thereon in favor of the Defendant, Asset Acceptance, LLC, and the Plaintiff calls

    upon said Defendant to come forth and assert its claim on or interest in the property, if

    any, and offer proof thereof, or be forever barred.

 17. The Defendant, Capital One Services, Inc., may claim an interest in the Property by

    virtue of an unreleased Judgment lien, which was recorded on July 25, 2002, in Book 10,

    Page 255, in the Commonwealth of Kentucky, Jackson County Clerk’s Office. Copy of

    the Lien is attached hereto marked Exhibit J, and is hereby incorporated by reference as

    if set forth at length herein. Said Defendant’s interest in or claim on the Property is

    inferior in rank and subordinate in priority to the mortgage lien on the Property in favor

    of RD. RD is entitled to a foreclosure sale of the Property free and clear of any interest

    therein or claim thereon in favor of the Defendant, Capital One Services, Inc., and the

    Plaintiff calls upon said Defendant to come forth and assert its claim on or interest in the

    property, if any, and offer proof thereof, or be forever barred.

 18. The Defendant, Daniel Boone Community Action Agency, Inc. may claim an interest in

    the Property by virtue of a Mortgage, which was recorded on May 4, 2010, in Mortgage

    Book 174, Page 540, in the Commonwealth of Kentucky, Jackson County Clerk’s Office.

    Copy of the Lien is attached hereto marked Exhibit K, and is hereby incorporated by

    reference as if set forth at length herein. Said Defendant’s interest in or claim on the
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    Property is inferior in rank and subordinate in priority to the mortgage lien on the

    Property in favor of RD. RD is entitled to a foreclosure sale of the Property free and

    clear of any interest therein or claim thereon in favor of the Defendant, Daniel Boone

    Community Action Agency, Inc., and the Plaintiff calls upon said Defendant to come

    forth and assert its claim on or interest in the property, if any, and offer proof thereof, or

    be forever barred.

 19. The Property is indivisible and cannot be divided without materially impairing its value

    and the value of RD’s lien thereon.

 20. The lien on the Property in favor of RD by virtue of the Mortgage is first, prior and

    superior to all other claims, interests and liens in and to the Property except for liens

    securing the payment of ad valorem property taxes.

 21. There are no other individuals or entities purporting to have an interest in the Property

    known to RD.

 WHEREFORE, the Plaintiff, the RD, prays for relief as follows:

        a.     That the RD be awarded a judgment, as the total amount owing is $57,973.86,

               as of February 21, 2018. Interest is accruing on the unpaid principal balance

               at the rate of $6.3188 per day after February 21, 2018, until entry of judgment

               herein, and thereafter according to law, plus costs, disbursement and expenses.

        b.     That RD be adjudged a lien on the subject Property, prior and superior to any

               and all other liens, claims, interests, and demands, except liens for unpaid real

               estate ad valorem taxes and except as set forth above; and for an Order of Sale

               of the Property in accordance with Title 28, United States Code, Sections

               2001- 2003, inclusive; that the Property be sold free and clear of any and all
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              liens and claims for any and all parties to this action, except for real estate

              restrictions and easements of record, and any city, county, state, or school ad

              valorem taxes which may be due and payable thereon at the time of sale; and

              free and clear of any rider equity of redemption; and that the proceeds from

              the sale be applied first to the costs of this action, second to the debt, interest,

              costs, and fees due the Plaintiff, with the balance remaining to be distributed

              to the parties as their liens and interests may appear.

        c.    That the Property be adjudged indivisible and be sold as a whole.

        d.    That all Defendants be required to Answer and set up their respective liens,

              claims, or interests in the Property, if any, or be forever barred.

        e.    For any and all other lawful relief to which the Plaintiff may appear properly

              entitled.

                                               Respectfully submitted,
                                               Clunk, Hoose Co., LPA


                                               /s/ Travis W. Thompson
                                               Travis W. Thompson KBA No. 91275
                                               ATTORNEY FOR PLAINTIFF
                                               THE UNITED STATES OF AMERICA
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